                                           Case 2:18-cv-01395-BMS Document 1 Filed 04/03/18 Page 1 of 14



JS 44 (Rev. 06117)
                                      b~                                                                               CIVIL COVER SHEET                                                       /~ .. OI-                           /315

    CLARION COLE

        (h)          County of Residence of First Listed Plajr tiff
                                                                                      c
The JS 44civil cover sheet and the information contained herein neither replace nor supplement the filing and service ofpleadi11&5 or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for !he use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE !NSTRUC1'/0NS ON NEXI' PAGli OF 1'Jf/S FORM.)

 L (a) PI..AINTlFFS


                                                                    HINDS ..1•... - - - - -
                                                                                                                                                                DEFENDANTS
                                                                                                                                                              EGS FINANCIAL CARE, INC.

                                                                                                                                                                County of Residence of First Listed Defendant
                                                                                                                                                                                                                    18                     1395
                                       /EXCF.l'T IN U.S. Pl/AJNTIFFCASF.S)                                                                                                             /JN(!.$'. PJ.AINTIFFCASESONLY)
                                                                                                                                                                NOTE:         IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                                                              THE TRACT OF LAND INVOLVED.


      (c) Attorneys (Firm Name, Address, and Telepho11e Number)                                                                                                  Attorneys (If Known)
    Octavio Gomez, 201 N Franklin Str~et, Tampa,
    Telephone: (813) 223-5505


II. BASIS OF JURIS                                                                                                                           III. CITIZENSHIP OF PRINCIPAL PARTIES (Place arr "X" lnOneBoxj'arPlainl!/f
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                                                                                                                                                                                                                of Business In This State

O 2         U.S. Govemmen1                                              Diversity                                                                     Citil'.en of Another State        0 2    0      2       Incorporated and Principal Place          0      s        0   s
               Defendant                                                  (JndicaJe Citizenship of Par1ies ih /rem Ill)                                                                                          of Business ln Amther Slate

                                                                                                                                                      Citizen or Subject ora           0 3     0      3       Foreign Nruion                            0 6             D 6
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                                                                                                                                                                                 (SpectJY)                       Transfer                            Direct File
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'dcAUSEOFACTION                                                     Brief description of cause:
                                                                    TCPA,FDCPA                                                                                                                                                            /'1
VII. REQUESTED IN                                                   D      CHECK IF THIS IS A CLASS ACTION                                               DEMANDS                                       CHECK YES only ifd~n~ed in complaint:
     COMPLAINT:                                                            UNDER RULE 23, F.R.Cv.P.                                                                                                    JURY DEMAND:       IKI es    ONo


                IFA                                                                                             JUDGE                                                                         DOCKET NUMBER                                                 3 28'18
DATE
04/03/2018
 FOR OFFICE USE ONLY

        RECEIPT#                                        AMOUNT                                                         APPL YING IFP                                           JUDGE                                 MAO.JUDGE
                        Case 2:18-cv-01395-BMS Document 1 Filed 04/03/18 Page 2 of 14


                     1J~S                                        UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA- DESIGNATION FORM to be used by counsel to lndkate the category of the case for the purpose of
                                                                                                                                         18                     1395
assignment to appropriate ealendar.

Address of Plaintiff:         525 Sharon Hills Dr, Jackson, MS 39212
Addressoroerendant:           c/o 2595 Interstate Drive, Suite 103, Harrisburg, PA 19044
Place of Accident, Incident or Transaction:        Hinds, Mississippi
                                              ._____.:_____;:;_:_7(U.~.~.e;-;;R:e~:e:r=•~e<s"-id'-e~F,~o~r~A,-:d~~~it~io=n-a~l~Sp:-::ac~e-.)-------------~---------

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning                more of its stock?
     (Attach two copies of the Disclosure Statement Fonn in accordance with Fed.R.Civ.P. 7.l(a))                                 YesD

Does this case involve multidistrict litigation possibilities?                                                                   Yeso
RELATED CASE. IFANY:
Case Number:                                        Judge                                            Date Tcnninated: - - - - - - - - - - - - - - - - - - - - -

Civil cases are deemed related when yes is answered to any of the following questions:

I. ls this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
                                                                                                                                YesD      Noll
2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
   action in this court'?
                                                                                                                                YesD       NoXi
3. Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously
      terminated action in this court'!                                                                                          YesD        NoJJ

4. Is this case a second or successive habeas corpus. social security appeal, or prose civil rights case filed by the same individual?
                                                                                                                                 YesD        No IX

CIVIL: (Place     V' in ONE CATEGORY ONLY)
A. Federal Que.stlotr Cases:                                                                            B,   Diversity Jurl•diction Cases:
     L o Indemnity Contract, Marine Contract, and All Other Contracts                                   1. D Insurance Contract and Other Contracts
 2. o FELA                                                                                              2.   D Airplane Personal Injury

 3. o Jones Act-Personal Injury                                                                         3.   D Assault, Defamation

 4.    D Antitrust                                                                                      4. a Marine Personal Injury
 5. D Patent                                                                                            5. a Motor Vehicle Personal Injury
 6. o Labor-Management Relations                                                                        6.   D Other Personal Injury (Please specify)

 7. o Civil Rights                                                                                      7. a Products Liability
 8.    D Habeas Corpus                                                                                  8.   D Products Liability -          Asbestos
 9. a Securities Act(s) Cases                                                                           9.   D All other Diversity Cases

lO~Social Security Review Cases                                                                                  (Please specify)
11 )(        II other Federal Question Cases
           (Please specify)    TCPA, FDCPA

                                                                   ARBITRATION CERTIFICATION
                                                                          (Check App1-oprlate Category)
I,                                                              counsel of record do hereby certify:
   !:l Purstiant to Local Civil Rule 53.2, Section 3(cX2). that to the best of my knowledge and belief, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive ofintcrcst and costs;
   D Relief other than monetary damages is sought



DATE:~~~~~~~-
                                                           Attorney-at-Law                                                          Attorney l.D.#
                                          NOTE: A trial de novo will be a trial by jury only ifthere has been compliance with F.R.C.P. 38.

I certify that, to my knowledge, the within case is not re la                se now pending or within one year previously terminated action In this court
except as noted above.
                                                                                                                                                       APR           3 2018
DATE:         04/03/2018                                                                                                             325066
                                                                                                                                    Attorney lD.#
CN. 609 (512012)
       Case 2:18-cv-01395-BMS Document 1 Filed 04/03/18 Page 3 of 14



'b~c,                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

                        CASE MANAGEMENT TRACK DESIGNATION FORM

                                                                            CIVIL ACTION
                   CLARION COLE,
                           v.
                   EGS FINANCIAL CARE, INC.,                                NO.   18            139G
In accordance with the Civil Justice Expense and Delay Reduction Plan of this court, counsel for
plaintiff shall complete a Case Management Track Designation Form in all civil cases at the time of
filing the complaint and serve a copy on all defendants. (See§ 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree with the plaintiff regarding said
designation, that defendant shall, with its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Management Track Designation Form specifying the track
to which that defendant believes the case should be assigned.

SELECT ONE OF THE FOLLOWING CASE MANAGEMENT TRACKS:

(a) Habeas Corpus-Cases brought under 28 U.S.C. § 2241 through§ 2255.                              ( )
(b) Social Security - Cases requesting review of a decision of the Secretary of Health
    and Human Services denying plaintiff Social Security Benefits.                                  ( )
(c) Arbitration -Cases required to be designated for arbitration under Local Civil Rule 53.2.       ( )
(d) Asbestos - Cases involving claims for personal injury or property damage from
    exposure to asbestos.                                                                           ( )
(e) Special Management - Cases that do not fall into tracks (a) through ( d) that are
    commonly referred to as complex and that need special or intense management by
    the court. (See reverse side of this form for a detailed explanation of special
    management cases.)                                                                             ( )
(f) Standard Management - Cases that do not fall into any one of the other tracks.


  04/03/2018
                                                \   \


                                                                        Clarion Cole
                                                                                                  fJ
Date                                                                    Attorney for

  (813) 223- 5505                    (813) 222- 4725                   TGomez@ForThePeople.com

Telephone                            FAX Number                         E-Mail Address


(Civ. 660} 10/02




                                                                                   -APR - 3 2018
                  Case 2:18-cv-01395-BMS Document 1 Filed 04/03/18 Page 4 of 14



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                                                                     -~<CYUq{~-
                                                                                     SUITE 700
                                                                              ONE TAMPA CITY CENTER
                                                                                 TAMPA, FL 33602
                                                                                   (813) 223-5505
                                                                                FAX: (813) 223-5402




                  March 29, 2018


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                   * 8 2 4 2 8 0 9 *
                  Eastern District of Pennsylvania
                  2609 U.S. Courthouse ·
                  601 Market Street
                  Philadelphia, 19106-1797

                                                          RE:        Cble, Clarion v EGS Financial Care

                  Dear Sir or Madam:

                  Enclosed please find the following:

                                      Civil Cover Sheet
                                      Complaint & Exhibit A
                                      Summons(es)
                                      CD Containing the Above
                                      Self-addressed stamped envelope

                  Please find the above listed documents and issue the Summons. I have included
                  my firm check in the amount of $400.00 which represents your filing fee. Once
                  issued, please return th~ Summons(es) to my office in the self addressed
                  stamped envelope enclosed.

                  Thank you in advance for your assistance in this matter. Should you have any
                  questions, please feel free to contact either myself or my paralegal, Jennifer
                  Sherwood.




                  OTG/cr



                                                                              www.forthepeople.com
 ATLANTA, GA + BIRMINGHAM, AL + BOWLING GREEN, KY .: COLUMBUS, GA + DAYTONA BEACH, FL + DELAND, FL + FT. MYERS, FL + JACKSON, MS + JACKSONVILLE, FL
KISSIMMEE, FL + LAKELAND, FL + LEXINGTON, KY + LOUISVILLE, KY + MELBOURNE, FL + MEMPHIS, TN + MOBILE, AL + NAPLES, FL + NASHVILLE, TN + NEW YORK, NY
         ORLANDO, FL + PADUCAH, KY + PENSACOLA, FL + PLANTATION, FL + PRESTONSBURG, KY + ST. AUGUSTINE, FL + ST. PETERSBURG, FL + SARASOTA, FL
                           SAVANNAH, GA + TALLAHASSEE, FL + TAMPA, FL + TAVARES, FL + WEST PALM BEACH, FL + WINTER HAVEN, FL
                 Case 2:18-cv-01395-BMS Document 1 Filed 04/03/18 Page 5 of 14




~~~                   Dft\S
                                   UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF PENNSYLVANIA
                                      PHILADELPHIA DIVISION

      CLARION COLE,

            Plaintiff,                                    CASE NO.:

      -v-
                                                                              18          1395
      EGS FINANCIAL CARE, INC,

            Defendant.
      ~~~~~~~~~~~/

                              COMPLAINT AND DEMAND FOR JURY TRIAL

                 COMES NOW Plaintiff, CLARION COLE, by and through the undersigned counsel, and

      sues Defendant, EGS FINANCIAL CARE, INC., and in support thereof respectfully alleges

      violations of the Telephone Consumer Protection Act, 47 U.S.C. §227 et seq. ("TCPA") and the

      Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et. seq. ("FDCPA").

                                               INTRODUCTION

                 1.      The TCP A was enacted to prevent companies like EGS FINANCIAL CARE,

      INC. from invading American citizen's privacy and prevent abusive "robo-calls."

                 2.      "The TCPA is designed to protect individual consumers from receiving intrusive

      and unwanted telephone calls." Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct. 740, 745, 181

      L.Ed. 2d 881 (2012).

                 3.      "Senator Hollings, the TCPA's sponsor, described these calls as 'the scourge of

      modem civilization, they wake us up in the morning; they interrupt our dinner at night; they

      force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

      wall.' 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone
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subscribers another option: telling the auto-dialers to simply stop calling." Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242. 1256 (11th Cir. 2014).

       4.      According to the Federal Communications Commission (FCC), "Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-protection-

proposal.

                                 JURISDICTION AND VENUE



       5.      This is an action for damages exceeding Seventy-Five Thousand Dollars

($75,000.00) exclusive of attorney fees and costs.

       6.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

       7.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(l)(A)(iii). See

Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014)

       8.      The Defendant is located in Montgomery County, Pennsylvania. Accordingly,

venue is appropriate with this Court under 28 U.S.C. §1391(b)(l), as it is the judicial district in

which the Defendant resides.

                                   FACTUAL ALLEGATIONS


                                                   2
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       9.      Plaintiff is a natural person, and citizen of the State of Mississippi, residing in

Hinds County, Mississippi.

       10.     Plaintiff is a "consumer" as defined in 15 U.S.C. § 1692(a)(3).

       11.     Plaintiff is an "alleged debtor."

       12.     Plaintiff is the "called party." See Breslow v. Wells Fargo Bank, NA., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       13.     Defendant, EGS FINANCIAL CARE, INC., is a corporation which was formed in

Pennsylvania with its principal place of business located at Horsham Corporate Center, 400

Horsham Boulevard, Suite 130, Horsham, Pennsylvania 19044 and which conducts business in

the State of Pennsylvania through its registered agent, Corporation Service Company located at

2595 Interstate Drive, Suite 103, Harrisburg, Pennsylvania 17110.

       14.     EGS FINANCIAL CARE, INC. called Plaintiff on Plaintiffs cellular telephone

approximately one-hundred (100) times in an attempt to collect a debt.

       15.     EGS FINANCIAL CARE, INC. attempted to collect an alleged debt from the

Plaintiff by this campaign of telephone calls.

       16.     EGS FINANCIAL CARE, INC. intentionally harassed and abused Plaintiff on

numerous occasions by calling several times during one day, and on back to back days, with such

frequency as can reasonably be expected to harass.

       17.     Upon information and belief, some or all of the calls the Defendant made to

Plaintiffs cellular telephone number were made using an "automatic telephone dialing system"

which has the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator (including but not limited to a predictive dialer) or an artificial or

prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(l) (hereinafter


                                                   3
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"auto-dialer calls"). Plaintiff will testify that she knew it was an auto-dialer because of the vast

number of calls she received and because she heard a pause when she answered her phone before

a voice came on the line and/or she received prerecorded messages before a voice came on the

line from EGS FINANCIAL CARE, INC ..

       18.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (769) ***-8800, and was the called party and recipient of Defendant's calls.

       19.     EGS FINANCIAL CARE, INC. placed an exorbitant number of automated calls

to Plaintiffs cellular telephone (769) ***-8800 in an attempt to collect on a credit card debt.

       20.     Upon receipt of the calls from Defendant, Plaintiffs caller ID identified the calls

were being initiated from, but not limited to, the following telephone numbers: (903) 209-2635,

(903) 209-2637, (430) 775-1070, (430) 775-1072, (430) 775-1073, (623) 404-6948, (480) 935-

6828, (215) 440-6677, (304) 820-0735, (412) 694-1902, (334) 310-6203, (334) 310-6205, and

(430) 775-1074.

       21.     On several occasions over the last four (4) years, Plaintiff instructed EGS

FINANCIAL CARE, INC.'s agents to stop calling her cellular telephone.

       22.     In or about December 2017, and on many other occasions Plaintiff answered a

call to her aforementioned cellular telephone number.            Plaintiff was connected to an

agent/representative of Defendant and informed the agent/representative to please stop calling

her cellular telephone and that this was harassment.

       23.     In or about February 2018, and on many other occasions Plaintiff answered a call

to her aforementioned cellular telephone number.               Plaintiff was connected to an

agent/representative of Defendant and informed the agent/representative to please stop calling

her.


                                                 4
       Case 2:18-cv-01395-BMS Document 1 Filed 04/03/18 Page 9 of 14




       24.       Due to the tremendous volume of calls Plaintiff received over a lengthy period of

time; she was not able to properly catalogue each and every call. However, attached hereto as

Exhibit A is a small sampling of some of the automated calls Plaintiff received to her cellular

telephone from Defendant.

       25.       EGS FINANCIAL CARE, INC. has a corporate policy to use an automatic

telephone dialing system or a pre-recorded or artificial voice to individuals just as it did to the

Plaintiffs cellular telephone in this case.

       26.       EGS FINANCIAL CARE, INC. has a corporate policy to use an automatic

telephone dialing system or a pre-recorded or artificial voice, just as it did to the Plaintiffs

cellular telephone in this case, with no way for the consumer, or EGS FINANCIAL CARE,

INC., to remove the number.

       27.       EGS FINANCIAL CARE, INC. 's corporate policy is structured as to continue to

call individuals like the Plaintiff, despite these individuals explaining to EGS FINANCIAL

CARE, INC. they wish for the calls to stop.

       28.       EGS FINANCIAL CARE, INC. has numerous other federal lawsuits pending

against them alleging similar violations as stated in this Complaint.

       29.       EGS FINANCIAL CARE, INC. has numerous complaints against them across the

country asserting that their automatic telephone dialing system continues to call despite being

requested to stop.

       30.       EGS FINANCIAL CARE, INC. has had numerous complaints from consumers

against them across the country asking to not be called, however the Defendant continues to call

the consumers.




                                                 5
       Case 2:18-cv-01395-BMS Document 1 Filed 04/03/18 Page 10 of 14




        31.     EGS FINANCIAL CARE, INC. 's corporate policy provided no means for the

Plaintiff to have her number removed from the call list.

        32.     EGS FINANCIAL CARE, INC. has a corporate policy to harass and abuse

individuals despite actual knowledge that the called parties do not wish to be called.

        33.     None of EGS FINANCIAL CARE, INC.'s telephone calls placed to Plaintiff were

for "emergency purposes" as specified in 47 U.S.C. §227(b)(l)(A).

        34.     EGS FINANCIAL CARE, INC. willfully and knowingly violated the TCPA with

respect to the Plaintiff.

        35.     From each and every call placed without express consent by EGS FINANCIAL

CARE, INC. to Plaintiffs cellular telephone, Plaintiff suffered the injury of invasion of privacy

and the intrusion upon her right of seclusion.

        36.     From each and every call without express consent placed by EGS FINANCIAL

CARE, INC. to Plaintiffs cellular telephone, Plaintiff suffered the injury of the occupation of

her cellular telephone line and cellular telephone by unwelcome calls, making the telephone

unavailable for legitimate callers or outgoing calls while the telephone was ringing from EGS

FINANCIAL CARE, INC.'s call.

        37.     From each and every call placed without express consent by EGS FINANCIAL

CARE, INC. to Plaintiffs celfolar telephone, Plaintiff suffered the injury of unnecessary

expenditure of her time. For calls she answered, the time she spent on the call was unnecessary

as she had repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to

waste time to unlock the telephone and deal with missed call notifications and call logs that

reflected the unwanted calls. This also impaired the usefulness of these features of Plaintiffs

cellular telephone, which are designed to inform the user of important missed communications.


                                                 6
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        38.     Each and every call placed without express consent by EGS FINANCIAL CARE,

INC. to Plaintiffs cellular telephone was an injury in the form of a nuisance and annoyance to

Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the telephone

and deal with missed call notifications and call logs that reflected the unwanted calls. This also

impaired the usefulness of these features of Plaintiffs cellular telephone, which are designed to

inform the user of important missed communications.

        39.     Each and every call placed without express consent by EGS FINANCIAL CARE,

INC. to Plaintiffs cellular telephone resulted in the injury of unnecessary expenditure of

Plaintiffs cellular telephone's battery power.

        40.     Each and every call placed without express consent by EGS FINANCIAL CARE,

INC. to Plaintiffs cellular telephone where a voice message was left which occupied space in

Plaintiffs telephone or network.

        41.     Each and every call placed without express consent by EGS FINANCIAL CARE,

INC. to Plaintiffs cellular telephone resulted in the injury of a trespass to Plaintiffs chattel,

namely her cellular telephone and her cellular telephone services.

        42.     As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affect in a personal and individualized way by raising her blood pressure,

embarrassment, and anxiety.

                                            COUNT I
                                     (Violation of the TCPA)

        43.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty-two

(42) as if fully set forth herein.



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        44.     EGS FINANCIAL CARE, INC. willfully violated the TCPA with respect to the

Plaintiff, especially for each of the auto-dialer calls made to Plaintiffs cellular telephone after

Plaintiff notified EGS FINANCIAL CARE, INC. that she wished for the calls to stop.

        45.     EGS FINANCIAL CARE, INC. repeatedly placed non-emergency telephone calls

to Plaintiffs cellular telephone using an automatic telephone dialing system or prerecorded or

artificial voice without Plaintiffs prior express consent in violation of federal law, including 47

U.S.C § 227(b)(l)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against EGS FINANCIAL CARE, INC. for statutory damages, punitive damages,

actual damages, treble damages, enjoinder from further violations of these parts and any other

such relief the court may deem just and proper.

                                             COUNT II
                                     (Violation of the FDCPA)

        46.     Plaintiff fully incorporates and re-alleges paragraphs one ( 1) through forty-two

(42) as if fully set forth herein.

        47.     At all times relevant to this action EGS FINANCIAL CARE, INC. is subject to

and must abide by 15 U.S.C. § 1692 et seq.

        48.     EGS FINANCIAL CARE, INC. has violated 15 U.S.C. § 1692(d) by willfully

engaging in conduct the natural consequence of which is to harass, oppress, or abuse any person

in connection with the collection of a debt.

        49.     EGS FINANCIAL CARE, INC. has violated 15 U.S.C. § 1692(d)(5) by causing a

telephone to ring or engaging any person in telephone conversation repeatedly or continuously

with intent to annoy, abuse, or harass any person at the called number.




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       50.    EGS FINANCIAL CARE, INC. has violated 15 U.S.C. § 1692(f) by using unfair

and unconscionable means to collect or attempt to collect any debt.

               WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against EGS FINANCIAL CARE, INC. for statutory damages, punitive

damages, actual damages, costs, interest, attorney fees, enjoinder from further violations of these

parts and any other such relief the court may deem just and proper.

                                             Respectfull


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Octavio Gomez            Call Log for {769)   ***- 8800
         Date of Call:            Time of Call:           Phone Number:
         02/02/2018                  9:22AM                (903) 209- 2637
         02/02/2018                 10:03AM                (903) 209- 2637
         02/02/2018                  1:23PM                (903) 209- 2637
         02/02/2018                  4:28PM                (903) 209- 2637
         02/03/2018                  9:00AM                (430) 775- 1070
         02/03/2018                 11:36AM                (430) 775- 1070
         02/03/2018                  2:55PM                (430) 775- 1070
         02/03/2018                  6:02PM                (430) 775- 1070
         02/05/2018                  9:08AM                (430) 775- 1072
         02/05/2018                  9:59AM                (430) 775- 1072
         02/05/2018                  1:13PM                (430) 775- 1072
         02/05/2018                  2:35PM                (430) 775- 1072
         02/05/2018                  5:45PM                (430) 775- 1072
         02/06/2018                  9:01AM                (430) 775- 1073
         02/06/2018                 10:29AM                (430) 775- 1073
         02/06/2018                 12:58PM                (430) 775- 1073
         02/06/2018                  2:29AM                (430) 775- 1073
         02/06/2018                  6:57PM                (430) 775- 1073
         02/07/2018                  9:13AM                (430) 775- 1074
         02/07/2018                 12:59PM                (430) 775- 1074
         02/07/2018                  3:03PM                (430) 775- 1074
         02/07/2018                  4:24PM                (430) 775- 1074
         02/08/2018                 11:24AM                (334) 310- 6205
         02/08/2018                  1:15PM                (334) 310- 6205
         02/08/2018                  3:44PM                (334) 310- 6205
         02/08/2018                  6:07PM                (334) 310- 6205
         02/09/2018                  9:32AM                (334) 310- 6203
         02/09/2018                 12:40PM                (412) 694- 1902
         02/09/2018                  4:19PM                (304) 820- 0735
         02/09/2018                  5:54PM                (215) 440- 6677
         02/10/2018                 9:50AM                 (480) 935- 6828
         02/10/2018                 12:47PM                (251) 587-6105
         02/10/2018                  3:22PM                (623) 404- 6948




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                                                                Exhibit A
